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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA


Peakspeed, Inc.                       Civil File No. 0:20-cv-01630-JRT-BRT

                   Plaintiff,
                                        Defendant’s Opposition to
v.                                       Peakspeed’s Motion for
                                         Preliminary Injunction
Timothy Emerson,

                    Defendant.
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           I. Issue Presented and Introduction

   The only issue facing the Court boils down to the following

straightforward question:

       Under the Copyright Act, the only relevant ways one can
       become the owner of a copyright is by original authorship or a
       written transfer signed by the owner. Here, it is undisputed
       that Timothy Emerson authored TrueView for EmersonAI
       before Peakspeed existed. EmersonAI subsequently applied
       for and received the registered copyright for TrueView. And
       there are no written agreements whatsoever between
       EmersonAI/Tim and Peakspeed. Under these circumstances,
       does Peakspeed have any valid claim to ownership of the
       TrueView copyright?

This is the overarching question that effectively subsumes all other issues.

   So why are we here? Timothy Emerson (“Tim”) is at heart an inventor,

engineer, and programmer. So Tim decided to partner with David and Dan

Eaton, who are business and sales professionals, so that they could handle

the marketing and selling of TrueView, allowing Tim to continue to tinker,

invent, and build new applications. To accomplish this, they decided to

create a new companyPeakspeedthat would be an equal partnership

(1/3 each) between David, Dan, and Tim and would focus on marketing and

selling TrueView as well as anything else that Tim came up with.

   David Eaton, who was perceived as the most experienced businessman,

was tasked by the three prospective partners with making Peakspeed into a

legal reality, which included incorporating Peakspeed and s putting into

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place all the written agreements and contracts necessary. But David Eaton

never completed his task. As a result, when Tim was forced out of

Peakspeed on July 6, 2020, 1 Peakspeed was still nothing more than a shell

company with no assets, no intellectual property, and no employees.

     Accordingly, Peakspeed’s motion should be denied in its entirety.

                          II. Pertinent Facts

A. EmersonAI owns the registered copyright for TrueView.

     On July 8, 2020, EmersonAI submitted its application to register the

copyright for the TrueView source code. 2 The Copyright Office granted the

registration that same day. 3




1 Dkt. 25-12; Dkt. 24: Emerson Decl. at ¶¶ 107-109.
2 Ex. 7.
3 Id.

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     Under 17 U.S.C. § 410, this registered copyright is “prima facia evidence

of the validity of the copyright and the facts stated in the certificate.” So

there is a statutory presumption that EmersonAI owns the TrueView

copyright.

B. It is undisputed that Timothy Emerson authored TrueView before
   Peakspeed was incorporated on January 31, 2020.

     It is important to define what TrueView is and is not. Tim defines

TrueView as a combination of the host processing code that runs on the

CPU and the code that runs on the FPGA. 4

     All of Tim’s work on TrueView was done under his consulting company,

Emerson Consulting LLC, which invoiced EmersonAI for its services, and

was paid by EmersonAI via direct payments from EmersonAI’s Wells Fargo

business account. 5 And from time to time, Tim took an ownership draw

from Emerson Consulting. 6

     Tim’s consulting arrangement with EmersonAI started in April 2019

and continued through July 2020. 7 But the last payment Emerson




4 Deposition of Timothy Emerson on Sept. 14, 2020 (hereinafter “Ex.1:
Emerson Depo.”) at 24:6-21. Citations to Ex. in this brief will refer to the
Exhibits filed simultaneously with this brief.
5 Ex.1: Emerson Depo. at 86:22-88:17, 93:2-95:5; Dkt. 24: Emerson Decl. at

¶ 113; Dkt. 25-1; Dkt. 25-5 at 4 of 8; Deposition of David Eaton on Sept. 9,
2020 (hereinafter “Ex. 2: Eaton Depo.”) at 73:3-16, 76:12-78:15.
6 Emerson Depo. at 88:2-23.
7 Emerson Depo. at 93:2-94:14; Dkt. 25-1; Dkt. 25-5 at 4 of 8.

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Consulting received was on February 26, 2020 for Invoice # 121 that

covered work performed between February 3 and February 14, 2020. 8 Other

than these payments from EmersonAI to Emerson consulting, Tim received

no compensation for his work on TrueView in either 2019 or 2020. 9

     By the end of 2019, TrueView was in an alpha stage of development and

was ready to be demonstrated to customers. 10 Tim wrote nearly the entirety

of this version of TrueView’s source code. 11 At this point, TrueView was

capable of running on various Xilinx FPGA products and the Amazon Web

Services (“AWS”) F1 instance. 12 So in December 2019, Tim began the

process to register EmersonAI in the AWS Marketplace to begin selling

TrueView. 13 All this work predates existence of Peakspeed, which was not

incorporated until January 31, 2020. 14




8 Dkt. 25-1 at 22 of 31 (Invoice #121); Dkt. 25-5 at 4 of 8; Ex. 1 Emerson
Depo. at 94:10-14; Ex. 2: Eaton Depo. at 56:1-8, 64:19-65:4, 152:20-153:2,
160:18-161:19.
9 Ex. 1: Emerson Depo. at 107:11-108:7; Ex. 2: Eaton Depo. at 56:1-8, 59:12-

66:20, 73:3-16, 75:23-78:15, 160:21-161:19; Dkt. 24: Emerson Decl. ¶¶ 9-11,
29; Dkt. 25-1; Dkt. 25-5.
10 Ex.1: Emerson Depo. at 52:10-25; see also Dkt. 24: Emerson Decl. at ¶¶ 8-

68 (explaining the founding of EmersonAI and his creation of TrueView).
11 Ex. 1: Emerson Depo. at 97:5-100:19.
12 Ex. 3 (“Was finally able to get the TrueView app to run on AWS…”).
13 Ex. 4.
14 Ex. 5.

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     This is confirmed by an EmersonAI Sales and Marketing Plan Gantt

chart created by David Eaton in November 2019 that lists the TrueView

source code for the Xilinx U250 and AWS F1 instance as 100% complete: 15




     In 2020, the TrueView source code Tim wrote in 2019 was “melded into

the version of TrueView that exists today.” 16 And the majority of the work

on TrueView in 2020 was simply “reorganizing and adding better

documentation into the code base that Tim” wrote and fixing “four major

flaws in the software that would introduce errors into the image.” 17 So the


15 Ex. 10.
16 Ex. 2: Eaton Depo. at 242:12-23.
17 Id. at 243:7-245:11.

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only difference in the TrueView source code that existed at the end of 2019

to the version of TrueView that existed on July 1, 2020 was the addition of

one feature and some bug fixes. 18 In other words, the TrueView source code

in July 2020 was “pretty much in the same shape as the end of 2019.” 19

C. It is undisputed that there are no written agreements between
   Timothy Emerson and Peakspeed.

     David Eaton testified at his deposition that there are no written

agreements between Tim Emerson and Peakspeed: 20




And that Tim never assigned the TrueView source code to Peakspeed: 21




18 Ex. 1: Emerson Depo. at 101:24-102:8
19 Id.
20 Ex. 2: Eaton Depo. at 54:8-13.
21 Id. at 52:17-53:3.

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     Instead, David Eaton testified that he believes that for Tim to retain

ownership of any pre-existing intellectual property he would need an

agreement stating that it would not become Peakspeed’s property when

Peakspeed was incorporated: 22




     And Peakspeed confirmed in verified interrogatory responses that its

only argument that it owns the TrueView copyright is based on its

unfulfilled, 23 oral promise to give Tim a 33% ownership stake in

Peakspeed: 24



22 Id. at 218:9-19.
23 Ex. 2: Eaton Depo. at 161:14-19 (As of July 1, 2020, “[n]one of the
employees, including Tim Emerson, had received shares in [Peakspeed].”).
24 Ex. 8: Peakspeed’s Responses and Objections to Defendants First Set of

Interrogatories at 10.
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      At his deposition, Tim testified that he never contributed any

intellectual property or other assets to Peakspeed because he would not do

so without a written agreement: 25




25   Ex. 1: Emerson Depo. at 80:7-14.
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D. Peakspeed is a shell company with no assets, no intellectual
   property, and no employees.

     As mentioned in our introduction, Peakspeed was intended to be an

equal partnership between David Eaton, Dan Eaton, and Tim whose

purpose was marketing and selling the TrueView application that Tim

authored for EmersonAI. 26

     Tim was going to be CTO of Peakspeed and would grant Peakspeed an

exclusive license to TrueView and IdentifAI. 27

     David Eaton was going to be the CEO of Peakspeed and was responsible

for incorporating Peakspeed and putting all the necessary written

agreements into place. 28 But he never did. 29 The only thing David Eaton




26 Dkt. 24: Emerson Decl. ¶¶ 68-70; Ex. 8 at 5-7, 10-11, 15.
27 Ex. 1: Emerson Depo. at 117:16-118:5. IdentifAI is another program Tim
wrote before Peakspeed existed. This brief does not focus on IdentifAI
because Plaintiff’s motion purports to only seeks a declaration that
Peakspeed owns the copyright to TrueView.
28 Ex. 1 Emerson Depo. at 117:16-118:5, 142:3-15, 223:10-225:2.
29 Id. at 142:3-15.

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accomplished was incorporating Peakspeed on January 31, 2020. 30

      Because of David’s failure to put any agreements into place, EmersonAI

continued to be the operating company up until July 2020 but Tim allowed

EmersonAI to begin doing business as (“DBA”) Peakspeed starting in

February 2020 to facilitate an eventual transition to Peakspeed: 31




30   Ex. 5.
31   Ex. 1: Emerson Depo. at 223:10-225:2.
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     Accordingly, Emerson Consulting, Oscar Kramer, Joe Greshik, Matthew

Baldin, Patrick Losique, and David Zimmerman continued to invoice and be

paid by EmersonAI (from its Wells Fargo business checking account) for

their work until June 2020. 32 And EmersonAI continued to pay for the

various software accounts and licenses that were needed, such as the AWS

account. 33 EmersonAI also provided all the computers and servers that were

used by everyone that worked on TrueView. 34

     As a result, Tim was never an employee of Peakspeed. All of Tim’s work

on TrueView was done under his consulting company, Emerson Consulting

LLC (which invoiced EmersonAI), 35 Emerson Consulting was paid by

EmersonAI via direct deposit from EmersonAI’s Wells Fargo business

account, 36 Tim bought his own health insurance, 37 and the last payment

Emerson Consulting received from EmersonAI was on February 26, 2020

for Invoice # 121 that covered work performed between February 3 and


32 Dkt. 25-1 (Emerson Consulting Invoices); Dkt. 25-5 (Payments from
EmersonAI bank account to Emerson Consulting, Oscar Kramer, David
Zimmerman); Dkt. 25-8 (Matthew Baldin’s Invoices); Dkt. 25-9 ( Joe
Greshik’s Invoices); Ex.1: Emerson Depo. at 86:22-87:13, 93:2-95:5; Dkt.
24: Emerson Decl. at ¶ 113; Ex. 2: Eaton Depo. at 73:3-16, 76:12-19.
33 Ex. 1: Emerson Depo. at 88:24-89:6; Ex. 9.
34 Ex. 2: Eaton Depo. at 202:17-203:6, 204:17-205:17
35 Dkt. 25-1.
36 Ex.1: Emerson Depo. at 86:22-87:13, 93:2-95:5; Dkt. 24: Emerson Decl. at

¶ 113; Ex. 2: Eaton Depo. at 73:3-16, 76:12-19, 160:18-161:19; Dkt. 25-5 at 4
of 8 (Payments from EmersonAI’s Wells Fargo business account).
37 Ex. 1: Emerson Depo. at 107:21-108:6.

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February 14, 2020. 38 David Eaton admitted in his deposition that (i) there

was no employment (or any other) agreement with Tim, (ii) Tim was a 1099

contractor, and (iii) Emerson Consulting invoiced EmersonAI and those

invoices were paid via a direct deposit from EmersonAI’s bank account: 39




     Finally, Tim considered himself a partner, not an employee, at

Peakspeed since he was supposed to be an equal partner with David and

Dan Eaton: 40




38 Dkt. 25-1 at 22 of 31 (Invoice #121); Dkt. 25-5 at 4 of 8; Ex. 1: Emerson
Depo. at 94:10-14; Ex.2: Eaton Depo. at 56:1-8, 64:19-65:4, 152:20-153:2,
160:18-161:19.
39 Ex. 2: Eaton Depo. at 54:8-13 (no agreements between Tim and

Peakspeed), 65:6-66:20, 73:3-16, 75:23-77:21, 194:20-22 (“We have no W-2
employees at Peakspeed. They’re all 1099s.”).
40 Ex. 1: Emerson Depo. at 140:2-141:19.

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Unfortunately, Tim never received his promised shares in Peakspeed. 41 And

other than the payments from EmersonAI to Emerson Consulting, Tim

received no other compensation for his work on TrueView in either 2019 or

2020. 42

     These facts establish that Tim was working as an independent

contractor. As the Eighth Circuit has noted, the failure to provide

employment benefits or withhold payroll taxes is especially significant and


41 Ex. 2: Eaton Depo. at 161:14-19 (“None of the employees, including Tim
Emerson, had received shares in the company [as of July 1, 2020].”).
42 Ex. 1: Emerson Depo. at 107:11-108:7; Ex. 2: Eaton Depo. at 59:12-60:25,

62:25-63:24, 64:19-66:20, 73:3-16, 75:23-78:15, 160:18-161:19; Emerson
Decl. ¶¶ 9-11, 29; Dkt. 25-1; Dkt. 25-5.
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highly probative of one’s status as an independent contractor. Kirk v. Harter,

188 F.3d 1005, 1009 (8th Cir. 1999) (holding that a failure to treat someone

“as an employee for tax purposes and ... not pay him traditional employee

benefits” was highly indicative of independent contractor status); Oliver v.

Johanson, 357 F. Supp. 3d 758, 777-78 (W.D. Ark. 2018) (“the failure … to

provide employment benefits or withhold any payroll taxes is especially

significant and highly probative evidence of one's status as an independent

contractor…”).

                        III.          Argument
   Peakspeed’s motion for preliminary injunction should be denied for

three reasons. First, Peakspeed has not shown that it is likely to succeed on

any of its claims. Second, Peakspeed has not demonstrated that it will suffer

any irreparable harm in the absence of an injunction. Third, the balances of

harm weigh heavily against granting Peakspeed an injunction because an

injunction would put EmersonAI out of business. Finally, the Court should

also strike paragraphs 15 and 17 of the Declaration of David Eaton (Dkt. 24)

because Mr. Eaton admitted in his deposition that he lacks personal

knowledge of the matters contained therein.

A. Legal standard for a preliminary injunction.

   An injunction is an extraordinary remedy and the movant, Peakspeed,

bears the burden of establishing the need for such relief. Lankford v.

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Sherman, 451 F.3d 496, 503 (8th Cir. 2006).

   In determining whether to grant a preliminary injunction under Rule

65(a), the Court considers the so-called “Dataphase factors”: “(1) the threat

of irreparable harm to the movant; (2) the state of balance between this

harm and the injury that granting the injunction will inflict on other parties

litigant; (3) the probability that movant will succeed on the merits; and (4)

the public interest.” Novus Franchising, Inc. v. Dawson, 725 F.3d 885, 893

(8th Cir. 2013) (citing Dataphase Sys., Inc. v. C.L. Sys., Inc., 640 F.2d 109,

114 (8th Cir. 1981) (en banc)).

   Although the Dataphase factors are ordinarily balanced together, W.

Publ’g Co. v. Mead Data Cent., Inc., 799 F.2d 1219, 1222 (8th Cir. 1986), a

movant’s complete failure to show the first Dataphase factor—irreparable

injury—is “an independently sufficient ground upon which to deny a

preliminary injunction.” Novus Franchising, 725 F.3d at 893.

   Similarly, “[w]hile no single [Dataphase] factor is determinative, the

probability of success factor is the most significant.” Home Instead, Inc. v.

Florance , 721 F.3d 494, 497 (8th Cir. 2013) (citations and internal quotation

marks omitted); see also My Pillow, Inc. v. Ontel Prod. Corp., No. 19-cv-903,

2020 WL 1977287, at *2 (D. Minn. Apr. 3, 2020) (Bowbeer, Mag.)

(“Although no single factor is determinative, courts weigh heavily the

likelihood of Plaintiff’s success on the merits.”).

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   So “the absence of a likelihood of success on the merits strongly

suggests that preliminary injunctive relief should be denied.” Midwest Sign

& Screen Printing Supply Co. v. Dalpe, 386 F. Supp. 3d 1037, 1046 (D. Minn.

2019) (Tostrud, J) (cleaned up).

B. First, Peakspeed is not entitled to a preliminary injunction because it
   cannot show that it will likely succeed on the merits of any claim.

   Peakspeed’s motion for preliminary injunction should be denied because

Peakspeed cannot demonstrate that it is likely to succeed on the merits of

any of its claims.

   First, Peakspeed cannot demonstrate that it owns the TrueView source

code because it is undisputed that Tim wrote the TrueView source code

before Peakspeed existed.

   Second, Peakspeed cannot demonstrate a likelihood of success for its

Computer Fraud and Abuse Act because it is undisputed that Tim owns the

AWS account and servers that he is alleged to have improperly accessed.

   Third, Peakspeed’s conversion claim similarly fails because it cannot

establish that Peakspeed ever owned the $20,000 AWS credit it accuses

Tim of stealing, or that this credit ever existed.

   1. Peakspeed cannot demonstrate that it will likely succeed in its
      claim to own the TrueView copyright because Tim Emerson
      authored TrueView before Peakspeed existed.

   Peakspeed has failed to demonstrate that it will likely succeed in its claim


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of ownership over the TrueView copyright because, despite bearing the

burden of proof, Peakspeed offers no evidence to prove its ownership of the

TrueView copyright. Instead, Peakspeed spends its entire brief arguing that

(i) Emerson’s contributions to the TrueView source code are not

independently copyrightable, (ii) Emerson cannot be a co-owner because his

contributions were a work for hire, and (iii) Emerson cannot lawfully stop

Peakspeed’s sale and use of TrueView. 43 In other words, Peakspeed’s brief

simply assumes that Peakspeed owns the copyright to TrueView without

proving it.

     But these arguments are beside the point. Peakspeed is seeking a

declaration from the Court that it owns the TrueView source code

copyright: 44




To be successful in this claim, Peakspeed must demonstrate that “the

material is original, that it can be copyrighted, and that all statutory


43 Plaintiff’s Memorandum of Law in Support of [sic] Motion for
Preliminary Injunction (Dkt. 6) (hereafter “Pl. Memo ISO Prel. Inj.”) at 10-
20.
44 Proposed Order Granting Plaintiff’s Motion for Preliminary Injunction

(Dkt. 8) at 1.
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formalities have been complied with.” Thimbleberries, Inc. v. C & F

Enterprises, Inc., 142 F. Supp. 2d 1132, 1137 (D. Minn. 2001) (Doty, J.).

Yet Peakspeed failed to address any of these requirements in its brief.

     Perhaps this is because three undisputed facts clearly demonstrate that

EmersonAI owns the registered copyright to TrueView: (1) Tim authored

the TrueView source code before Peakspeed existed, 45 (2) there are no

written agreements between Peakspeed and Tim, 46 and (3) EmersonAI

owns the registered copyright for TrueView. 47 The registered copyright

creates a presumption that the TrueView copyright is valid and owned by

EmersonAI. 17 U.S.C. § 410 (“In any judicial proceedings the certificate of

a registration … shall constitute prima facie evidence of the validity of the

copyright and of the facts stated in the certificate.”).

     By contrast, Peakspeed’s primary argument for ownership of the

TrueView copyright is contrary to the requirements of the Copyright Act. 48

Peakspeed claims that it owns TrueView because Tim agreed to contribute

TrueView’s source code to Peakspeed in exchange for 33% of Peakspeed’s



45 Supra § II(B).
46 Supra § II(C).
47 Ex. 7.
48 Peakspeed did make this argument in its brief but this was its answer to

Defendant’s interrogatory that asked it to “Explain why Peakspeed believes
it owns the TrueView source code and identify all documents and evidence
that supports that claim.” Ex. 8 at 9-10 (Interrogatory 7).
                                     18 
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stock. 49 But under the Copyright Act, authorship of a copyright initially

belongs to the author. 17 U.S.C. § 201(a). And the Copyright Act expressly

provides that a transfer of copyright ownership is “not valid unless an

instrument of conveyance… is in writing and signed by the owner of the

rights conveyed or such owner’s duly authorized agent.” 17 U.S.C. § 204.

But Peakspeed’s argument fails because TrueView was created by Tim for

EmersonAI before Peakspeed was incorporated and there is no written

instrument of conveyance to Peakspeed.

      Accordingly, there simply is no legal support that the alleged promise of

stock for source code could somehow alter these statutory requirements. In

fact, the Western District of Arkansas recently considered and rejected

exactly this argument:

          Defendants … contended that ownership of the
          DBCompensation software vested in the company for three
          separate reasons: (1) Oliver contributed his software development
          work to the company in exchange for an ownership share in the
          company and generous disbursements since then;

          …

          As the Court remarked then, the first two arguments advanced
          by Defendants as to why DB Squared owned the copyright to
          the DBCompensation software appeared to be either directly
          contrary to the Copyright Act or at least arguably pre-empted by it.




49   See Ex. 8 at 4-6, 9-10.
                                        19 
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Oliver, 357 F. Supp. 3d at 767 (emphasis added). Therefore, Peakspeed

cannot demonstrate ownership of the TrueView copyright based on Tim’s

oral promise to contribute

“source code” to Peakspeed in exchange for a 33% ownership stake,

especially since Tim never received any shares of Peakspeed. 50

     Next, Peakspeed argues that it owns the TrueView copyright because

Tim’s contributions were done as a work for hire. 51

     But the TrueView source code that Tim authored before Peakspeed

existed cannot be a work for hire. Oliver, 357 F. Supp. 3d at 776 (“They

certainly cannot be considered works for hire of the company DB Squared,

because that LLC was not created until 2006, years after the first version of

the software was created.”). 52 Plus, Peakspeed’s CEO admitted that

EmersonAI owns the TrueView source code authored by Tim in 2019: 53




50 Ex. 2: Eaton Depo. at 161:14-19 (“None of the employees, including Tim
Emerson, had received shares in the company [as of July 1, 2020].”).
51 Pl. Memo ISO Prel. Inj. at 17-19.
52 See also Woods v. Resnick, 725 F. Supp. 2d 809, 825 (W.D. Wis. 2010)

(“There is another reason why defendants' work-for-hire theory fails: F I
Source, LLC did not exist at the time Woods prepared the source code.”).
53 Ex. 2: Eaton Depo. at 241:15-242:2.

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      Moreover, EmersonAI’s registration of the TrueView source code

copyright is prima facie evidence that it owns the copyright to TrueView. 54

17 U.S.C. § 410(c).

      Finally, EmersonAI’s ownership of the copyright to the original

TrueView source code 55 is fatal to Peakspeed’s claim of ownership to any

version of TrueView’s source code because one of the exclusive rights

conferred by the Copyright Act is the right to “prepare derivative works

based upon the copyrighted work.” 17 U.S.C. § 106(2). Only EmersonAI had

the right to iterate upon the original TrueView source code to create

derivative works. And it is black letter law that “the creator of an original


54   Ex. 7.
55   This refers to code created before Peakspeed existed.
                                      21 
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derivative work is only entitled to a copyright if [it] had permission to use

the underlying copyrighted work.” Mulcahy v. Cheetah Learning LLC, 386

F.3d 849, 852 (8th Cir. 2004).

     The factual record establishes that the changes made to the TrueView

source code in 2020 were derivative of the original TrueView source code.

David Eaton admitted as much when he testified that the original TrueView

source code “was melded into the version of TrueView that exists today”: 56




And that development on TrueView in 2020 consisted of (1) reorganizing

and adding documentation to the original TrueView source and (2) fixing

four flaws. 57 Tim confirmed this when he testified that the only real

differences in the TrueView source code from the end of 2019 to July 1,

2020 was the addition of one feature and some bug fixes: 58




56 Ex. 2: Eaton Depo. at 242:16-23.
57 Ex. 2: Eaton Depo. at 243:21-244:20.
58 Ex. 1: Emerson Depo. at 101:24-102:8.

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In Tim’s words, the TrueView source code on July 1, 2020 was “pretty

much in the same shape as the end of 2019.” 59

      The Copyright Act defines a derivative work as “a work based upon one

or more preexisting works.” 17 U.S.C. § 101. Based on the factual record

above, the TrueView source that existed in July 2020 is a derivative work

because it merely iterated on the original TrueView source code.

      As a result, Peakspeed cannot own the copyright to any derivative work

of Trueview because it lacked permission from EmersonAI to use the

original TrueView source code. According to the Eighth Circuit, “the

creator of an original derivative work is only entitled to a copyright if [it] had

permission to use the underlying copyrighted work.” Mulcahy, 386 F.3d at

852. Peakspeed was never granted permission by EmersonAI to make




59   Ex. 1: Emerson Depo. at 101:24-102:8.
                                     23 
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derivative works of TrueView.

   Furthermore, Peakspeed has not shown (or even tried to show) that any

derivate TrueView source code is sufficiently original to even be eligible to

be copyrighted. Mulcahy, 386 F.3d at 852 (“A derivative work may itself be

copyrighted if it has the requisite originality.”).

   To summarize, the original TrueView source code was written by Tim

for EmersonAI before Peakspeed existed. There are no written agreements

conveying the TrueView copyright to Peakspeed. The version of TrueView

that existed as of July 1, 2020 is clearly derivative of the original TrueView

source code created before Peakspeed came into existence. And EmersonAI

owns the registered copyright to TrueView and never granted Peakspeed

permission to use it.

   Therefore, Peakspeed has failed to demonstrate that it is likely to prevail

on its claim that it owns the TrueView copyright.

   2. Peakspeed cannot show that it is likely to succeed on its Computer
      Fraud and Abuse Act claim because Tim is accused of revoking
      Peakspeed’s access to an AWS account and HP servers that Tim
      undisputedly owns.

   Peakspeed’s Computer Fraud and Abuse Act claim is similarly infirm

because Tim (personally or through his wholly owned company,

EmersonAI) owns both the servers and AWS account he is accused of

improperly accessing.


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     Importantly, this Court interprets the Computer Fraud and Abuse Act

narrowly to preclude liability for the misuse or misappropriation of

confidential information stored on a computer that defendant has authority

to access. See Integrated Process Sols., Inc. v. Lanix LLC, No. 19-cv-567, 2019

WL 1238835, at *5-6 (D. Minn. Mar. 18, 2019) (Brasel, J.).

     Here, Peakspeed accuses of Tim of exceeding “whatever authorization

he had” “by locking Peakspeed employees out of” servers, changing the

“copyright notices to the TrueView source code,” and changing “the

assignment of the AWS account.” 60 But this claim fails because Peakspeed

has not shown that it owns either the AWS account or the servers. And even

if Peakspeed’s allegations were accepted as true they show, at best, a misuse

or misappropriation of confidential information that Tim rightfully had

access to, which is not a violation of the Computer Fraud and Abuse Act in

this Circuit. 61

     First, it is also undisputed that Tim has the highest-level administrative

credentials for the AWS account or that the account is owned by

EmersonAI. David Eaton testified that “the highest level administrator on

that [AWS] account would have been Tim because he was the one that


60Pl. Memo ISO Prel. Inj. at 20-21.
61Tellingly, Peakspeed cites 9th Circuit precedent to support its Computer
Fraud and Abuse Act claim. See Pl. Memo ISO Prel. Inj. at 21 (citing United
States v. Middleton, 231 F.3d 1207, 1209 (9th Cir. 2000)).
                                     25 
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opened the account before Peakspeed existed.” 62 David Eaton also admitted

that the AWS account was originally owned by EmersonAI. 63 Accordingly,

Tim, as the sole owner of EmersonAI, was the only person with the

authority to transfer the AWS account to Peakspeed. 64 But Tim testified

that he “never transferred” the AWS account to Peakspeed or anyone else. 65

     Peakspeed’s only contrary evidence is David Eaton’s uncorroborated

claim that the AWS account was at some unspecified time “changed to

Peakspeed” and “the costs of this account were paid for by Peakspeed.” 66

But the source of this claim is a conversation Mr. Eaton allegedly had with

someone at AWS who told Mr. Eaton that the name on the AWS account

had been listed as Peakspeed at some point. 67 However, this is inadmissible

hearsay since it concerns what David Eaton was told and is offered for the

truth of the matter asserted. Fed. R. Evid. 802. And even if this were

true it is not proof that Peakspeed ever owned the AWS account.

     Correspondingly, it is also untrue that Peakspeed ever paid for the AWS

account. Invoices from the AWS account were sent to Tim’s EmersonAI


62 Ex. 2: Eaton Depo. at 157:10-15, 199:1-11.
63 Dkt. 7: Eaton Decl. at ¶ 17 (“An AWS account was opened under
ʻEmersonAI’ because Peakspeed has not yet been incorporated…”).
64 Ex. 1: Emerson Depo. at 151:12-152:7.
65 Id. (“And I’m the only one that can legitimately transfer an account.

Nobody else has that ability. And I never transferred. Very clear on that.”).
66 Dkt. 7: Eaton Decl. at ¶ 17.
67 Ex. 2: Eaton Depo. at ¶ 156:6-24.

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email address, were paid by EmersonAI’s credit card, and listed EmersonAI

as entity being billed, as shown in the excerpts below from the March, April,

May, and June 2020 AWS invoices.: 68




68   Ex. 9.
                                   27 
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     Simply put, there is no evidence that Peakspeed ever owned the AWS

account. Accordingly, Tim, as the owner and highest-level administrator,

did not exceed his authority when he revoked the credentials of certain

individuals from the AWS account.

     Second, it is undisputed that Tim (or his wholly owned company,

EmersonAI) also owns the two servers that Peakspeed has accused him of

unlawfully “locking Peakspeed employees out of.” 69 David Eaton testified

that the two servers at issue are “used Hewlett Packard servers running at

Tim’s house.” 70 And that it was David Eaton’s understanding that “when

EmersonAI was formed by Dan and Tim, that they both contributed money

to buy those two servers to do development on.” 71 David Eaton has also

admitted that these two development servers were only being used with

Tim’s permission by Peakspeed. 72 Since Tim owned these servers and was




69 Pl. Memo ISO Prel. Inj. at 20-21.
70 Ex. 2: Eaton Depo. at 202:17-203:6.
71 Ex. 2: Eaton Depo. at 203:1-6.
72 Dkt. 7: Eaton’s Decl. at ¶ 20.

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permitting Peakspeed to use them, he was allowed to revoke that

permission.

     Therefore, Peakspeed has failed to demonstrate that it is likely to

succeed on its Computer Fraud and Abuse Act claim.

     3. Peakspeed’s conversion claim fails because Peakspeed has not
        proved that it owns the AWS account or that the allegedly stolen
        $20,000 credit ever existed.

     Peakspeed’s conversion claim similarly fails because Peakspeed failed to

demonstrate that it owns the AWS account or that the $20,000 credit it

claims Tim stole even exists. Tim testified that the AWS account was only

ever given a $2,500 credit, of which $1,184.30 was remaining as of

September 1, 2020. 73




     Peakspeed has offered no proof that the alleged $20,000 AWS credit




73Ex. 1: Emerson Depo. at 153:21-154:7; Declaration of Timothy Emerson in
support of his Opposition to Peakspeed’s Motion for Preliminary Injunction
at ¶ 6.
                                     29 
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exists. 74 David Eaton testified that he had no evidence of the $20,000 AWS

credit other than a vague memory that “e-mails went around the company

… signifying that we had that credit.” 75 But he was unable to recall when

that credit was awarded or how much of that credit remained at the time

Tim revoked access to the AWS account. 76

     Therefore, Peakspeed has failed to demonstrate that it is likely to

succeed on its Conversion claim.

C. Second, Peakspeed’s Motion for Preliminary Injunction should also
   be denied because Peakspeed has failed to show irreparable harm.

     Peakspeed’s Motion for Preliminary Injunction should also be denied

because it has failed to show any irreparable harm will occur absent an

injunction. “Irreparable harm occurs when a party has no adequate remedy

at law, typically because its injuries cannot be fully compensated through an

award of damages.” Gen. Motors Corp. v. Harry Brown’s, LLC, 563 F.3d 312,

319 (8th Cir. 2009). The harm must be “likely in the absence of an

injunction, great, and of such imminence that there is a clear and present

need for equitable relief.” Minn. RFL Republican Farmer Labor Caucus v.

Freeman, No. 19-cv-1949, 2020 WL 5512509, at *5 (D. Minn. Sep. 14, 2020)




74 Pl. Memo ISO Prel. Inj. at 20-22 (citing no evidence); Dkt. 7: Eaton Decl.
at ¶ 20 (referring to $20,000 AWS credit but citing no evidence).
75 Ex. 2: Eaton Depo. at 199:12-200:6.
76 Id. at 200:21-201:8.

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(Tostrud, J.) (cleaned up) (citing Iowa Utils. Bd. v. FCC, 109 F.3d 418, 425

(8th Cir. 1996)). So Peakspeed must make a “clear showing of immediate

irreparable injury” to succeed. Berkley Risk Adm’rs Co., LLC v. Accident

Fund Holdings, Inc., No. 16-cv-2671, 2016 WL 4472943, at *4 (D. Minn.

Aug. 24, 2016) (Doty, J.).

      Peakspeed has failed to show irreparable harm because its allegations

concern (i) harm to its relationship with Xilinx that has already occurred,

(ii) speculative harm related to Peakspeed’s purported opportunity to

become a leader in the marketplace, and (iii) speculative harm based on the

possibility that Tim may compete against Peakspeed or publicize the source

code to a Peakspeed competitor. 77

      First, Peakspeed’s allegations concerning harm to its relationship with

Xilinx do not demonstrate “immediate irreparable injury” because the

damages to Peakspeed’s relationship with Xilinx has already occurred and

cannot be cured by an injunction. Tri-State Grease & Tallow Co. v. Milk

Specialities Co, No. 11-cv-709, 2011 WL 1561674, at *7 (D. Minn. Apr. 22,

2011) (Kyle, J) (holding that damage to a business relationship that “is

already done” is not a “threat of ongoing irreparable harm, rendering

injunctive relief inappropriate.”). Peakspeed’s only evidence to support this



77   Pl. Memo ISO Prel. Inj. at 22-24.
                                      31 
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allegation of irreparable harm is a text message from Tim warning that if

Peakspeed files a lawsuit against him Xilinx will not do business with either

Peakspeed or EmersonAI until it is resolved. 78

     But Peakspeed admits that Dean Moss, a Xilinx executive, already

informed it that “a dispute over ownership could cause a problem between

Xilinx and Peakspeed.” 79 And David Eaton testified that “Xilinx, our

number one partner, has suspended payments that they had committed to in

contract as a result of Tim raising this cloud of concern over who owns

Peakspeed.” 80 A preliminary injunction cannot prevent this allegedly

irreparable harm because it has already occurred. Tri-State Grease & Tallow

Co., 2011 WL 1561674, at *7.

     Second, Peakspeed’s allegation that it will “lose the opportunity to

establish itself as a leader and innovator in the marketplace” absent a

preliminary injunction is unsupported by any evidence and is purely

speculative. 81 Claims of a potential future competitive disadvantages are

routinely held to be insufficient to show irreparable harm because they are

“too remote and speculative.” See, e.g., Berkley Risk Administrators Co.,

LLC, 2016 WL 4472943, at *4 (“BRAC’s claims that it will lose a


78 Dkt. 7: Eaton Decl. at ¶ 25.
79 Id. at ¶ 23.
80 Ex. 2 Eaton Depo. at 247:23-248:2 (emphasis added).
81 Pl. Memo ISO Prel. Inj. at 23.

                                     32 
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competitive advantage because AF Group will use its trade secrets to bid

against it in 2019 are too remote and speculative to show irreparable

harm.”).

     Third, Peakspeed’s allegations that Tim might “compete against

Peakspeed or publicize the code to a Peakspeed competitor” are also

speculative and allege a harm that is not irreparable since it can be cured by

money damages. Essentially, Peakspeed is alleging that absent a preliminary

injunction it might lose future customers. But allegations concerning lost

customer relationships are “equivalent to a claim of lost profits and could

therefore be compensated as money damages.” Mainstream Fashions

Franchising, Inc. v. All These Things, LLC, 453 F. Supp. 3d 1167 82 (D. Minn.

2020) (Nelson, J.) (cleaned up); see also Novus Franchising, Inc. v. Dawson,

725 F.3d 885, 895 (8th Cir. 2013) (Questioning whether “loss of customers

or customer goodwill are truly ʻirreparable’ in the sense that they could not

be addressed through money damages.”).

     And there is no evidence in the record that Tim is competing with

Peakspeed. And even if he is, there is no evidence that any resulting harm to

Peakspeed could not be remedied by money damages. NewLeaf Designs,

LLC v. BestBins Corp., 168 F. Supp. 2d 1039, 1045 (D. Minn. 2001)


82Page numbers are (as of Oct. 1, 2020) unavailable in Westlaw for this case
so I am unable to provide the pin cite.
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(Tunheim, J) (holding that competition from defendant’s competing

product not sufficient to show irreparable harm). General allegations of

damage to reputation and goodwill are not sufficient to show irreparable

harm. Weg Elec. Corp v. Pethers, No. 16-cv-471, 2016 WL 1441793, at *3 (D.

Minn. Apr. 12, 2016) (Doty, J) (“Damage to reputation and goodwill may

qualify as irreparable harm. General allegations as to these harms, however,

do not suffice.”) (citations omitted).

      Finally, David Eaton testified in his deposition that Peakspeed’s

“customers aren’t clamoring for [its] solution.” 83 So it is unclear that

Peakspeed even has any potential customers to lose or that the loss could

not be compensated by money damages. Berkley Risk Adm’rs Co., 2016 WL

4472943, at *4 (“BRAC claims that it will lose customers and contract

opportunities, but these alleged harms, which sound in a claim for tortious

interference with a business relationship or business expectancy, are

commonly remedied through monetary damages.”).

      Therefore, Peakspeed’s request for a preliminary injunction must be

denied because it has failed to demonstrate any irreparable harm.




83   Ex. 2 Eaton Depo. at 208:25-210:23.
                                      34 
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D. Third, the Court should deny Peakspeed’s Motion because the
   balance of harms weigh heavily against a preliminary injunction
   since an injunction would put EmersonAI out of business.

     The Court should also deny Peakspeed’s request for a preliminary

injunction because the balance of harms weighs heavily against granting it. If

Peakspeed’s preliminary injunction were granted it would prevent Tim’s

company, EmersonAI, from conducting its business. EmersonAI developed

TrueView as part of a Development and Marketing Agreement between

EmersonAI and Xilinx that it entered into in March 2019, long before

Peakspeed existed. 84 And EmersonAI owns the registered copyright to

TrueView. 85 So Peakspeed’s injunction would prevent EmersonAI from

utilizing its own source code and most likely cause it to go out of business. 86

     Accordingly, the harm to Tim and EmersonAI from Peakspeed’s

requested preliminary injunction is severe. NewLeaf Designs, LLC., 168 F.

Supp. 2d at 1045-46 (holding that balance of harms weighed against granting

preliminary injunction when the injunction would put defendant out of

business).

     Therefore, any harm that would result from Peakspeed having to

compete with Tim or EmersonAI during the pendency of this case is



84 Dkt. 24: Emerson Decl. ¶ 16.
85 Ex. 7.
86 Declaration of Timothy Emerson in support of his Opposition to

Peakspeed’s Motion for Preliminary Injunction at ¶ 7-8.
                                    35 
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outweighed by the harm Tim and EmersonAI would suffer if the Court

granted the preliminary injunction.

E. Finally, the Court should strike paragraphs 15 and 17 of David
   Eaton’s declaration under Rule 602 because he lacks personal
   knowledge of those matters.

      Finally, the Court should strike paragraphs 15 and 17 of David Eaton’s

Declaration because he lacks personal knowledge of the facts he testified

about in those paragraphs.

      Under Federal Rule of Evidence 602, a witness “may testify to a matter

only if evidence is introduced sufficient to support a finding that the witness

has personal knowledge of the matter.” Paragraphs 15 and 17 must be

excluded because the Mr. Eaton testified under oath that he lacks personal

knowledge of the matters discussed in those paragraphs.

      In paragraph 15 of his declaration, Mr. Eaton testifies at length about the

number of lines in the TrueView source code and the number of lines of

code that Tim allegedly contributed to TrueView. 87 But at his deposition,

Mr. Eaton testified that this information was provided to him by Oscar

Kramer who generated it by running an unknown report, using unknown

software, and unknown parameters. 88 Mr. Eaton testified that he’s “not

familiar with how to run the report” and that he “just saw the results of the



87   Dkt. 7: Eaton Decl. at ¶ 15.
88   Ex. 2: Eaton Depo. at 126:20-131:15.
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report” and that he does not know how the tool that generated the report

even defines a line of code. 89 This is because, as Mr. Eaton testified,

“parsing through source code is not my role or responsibility as CEO.” 90

Mr. Eaton never even reviewed the TrueView source code until May or June

of 2020. 91

     Additionally, in paragraph 15 of his declaration, Mr. Eaton testifies about

what Tim worked on and the discretion a programmer has when writing

code for an FPGA. 92 But Mr. Eaton admitted in his deposition that he does

not know what work Tim actually performed; only what Tim was

responsible for. 93 Mr. Eaton also testified that he has never converted CPU-

based code into FPGA-based code, is not a programmer, and has never

programmed an FPGA. 94 Accordingly, Mr. Eaton lacks personal knowledge

that (i) “Emerson worked on coding one component-programming the

FPGA to carry out the trigonometric calculations needed for

orthorectification” and (ii) the “amount of discretion a programmer has in

writing code for such calculations is limited” as he stated in paragraph 15 of




89 Id. at 127:6-22.
90 Id. at 97:5-22.
91 Id. at 254:19-255:10.
92 Dkt. 7: Eaton Decl. at ¶ 15.
93 Ex. 2: Eaton Depo. at 111:7-21.
94 Ex. 2: Eaton Depo. at 119:16-120:9.

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his declaration. 95

     This means that the entirety of paragraph 15 is inadmissible since Mr.

Eaton lacks personal knowledge of all matters contained therein.

     Similarly, paragraph 17 of Mr. Eaton’s declaration should also be struck.

In paragraph 17, Mr. Eaton testified that Peakspeed paid for all the tools

used by Tim when he wrote source code and that EmersonAI’s AWS

account had been transferred to and paid for by Peakspeed. 96 But during his

deposition, Mr. Eaton admitted that he did not know who had paid for

various software licenses, whether certain tools were being paid using

EmersonAI’s credit card or Peakspeed’s, and had no knowledge of whether

EmersonAI’s AWS account had ever been transferred to Peakspeed because

he “was not the one that did that.” 97 Mr. Eaton’s only source of knowledge

regarding the transfer of the AWS account comes from what his team told

him or what he learned from an AWS representative during a phone call,

both of which are inadmissible hearsay. 98 Fed. R. Evid. 802.

     Therefore, paragraphs 15 and 17 are inadmissible under Federal Rule of

Evidence 602 because Mr. Eaton has admitted that he lacks personal

knowledge of the subject matter of his testimony.


95 Dkt. 7: Eaton Decl. at ¶ 15.
96 Dkt. 7: Eaton Decl. at ¶ 17.
97 Ex. 2: Eaton Dep. at 145:6-14, 146:17-148:20, 155:17-156:24.
98 Id. at 155:17-156:24.

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                             IV.   Conclusion
   Peakspeed has failed to offer any proof that it is the owner of the

TrueView copyright. Its only evidence is an interested declaration from its

CEO who has subsequently admitted that he lacks personal knowledge of

key facts he testified to.

   By contrast, as the registered copyright holder, EmersonAI enjoys a

statutory presumption that it owns the TrueView copyright and that its

copyright is valid. And it is undisputed that Timothy Emerson authored

TrueView in 2019before Peakspeed existedfor EmersonAI and no

written agreements transferring or assigning the TrueView copyright from

either Tim or EmersonAI to Peakspeed exist.

   Therefore, Peakspeed’s motion must be denied because it has not, and

cannot, show a likelihood of success on the merits of any of its claim.




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